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                                                )
 RONALD BAZILE, SR.,                            )
                                                )
                         Plaintiff,             )
                                                )               No. 15-1020C
 v.                                             )
                                                )               Filed April 1, 2016
 THE UNITED STATES,                             )
                                                )
                         Defendant.             )
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                                       DISMISSAL ORDER

        Plaintiff, prose, Ronald Bazile, Sr., commenced this action on September 14, 2015
(docket entry no. 1). On the same date, plaintiff filed a motion to proceed in forma pauperis
pursuant to 28 U.S.C. § 1915(a) (docket entry no. 3).

        On December 4, 2015, the government filed a motion to dismiss pursuant to Rule
12(b)(l) and Rule 12(b)(6) of the Rules of the United States Court of Federal Claims ("RCFC")
(docket entry no. 7). Plaintiffs response was due on January 7, 2016. Plaintiff failed to file a
response by that date, and on January 15, 2016, the Court issued an Order to Show Cause
directing plaintiff to respond to the government's motion to dismiss and to show cause as to why
the case should not be dismissed for failure to prosecute pursuant to RCFC 41(b) by February 16,
2016 (docket entry no. 8).

        On February 29, 2016, plaintiff filed a motion for an extension of time, until March 29,
2016, to file his response to the Court's Order to Show Cause and to the government's motion to
dismiss (docket entry no. 9). On March 4, 2016, the Court granted plaintiffs motion and ordered
plaintiff to file his response to the Court's Order to Show Cause and to the government's motion
to dismiss on or before March 29, 2016 (docket entry no. 11). The Court also stated that if
plaintiff failed to timely file his responses, the Court would dismiss this action for failure to
prosecute pursuant to RCFC 41 (b ).

       On March 30, 2016, plaintiff filed a second motion for extension of time, until May 10,
2016, to file his responses to the Court's Order to Show Cause and to the government's motion
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to dismiss (docket entry no. 12). Plaintiff represents that this additional time is needed to obtain
documents from the Federal Emergency Management Agency. Because plaintiff failed to attach
a certificate of service to his motion for an extension of time, as required by the Court's Rules,
the Court grants plaintiff leave to file this motion. See RCFC 5.3(b).

       RCFC 41(b) provides that: "[i]fthe plaintiff fails to prosecute or to comply with [the
Court's] rules or a court order, the court may dismiss on its own motion .... " RCFC 41(b).
Plaintiff has not filed a response to the Court's Order to Show Cause or to the government's
motion to dismiss, as ordered by the Court in its Order to Show Cause and Order granting
plaintiff's first extension request. Because plaintiff has failed to comply with the Court's Orders,
or to respond to the government's motion to dismiss, the Court dismisses plaintiff's complaint
without prejudice. RCFC 41 (b).

       In light of the foregoing, the Court:

       1. GRANTS plaintiff leave to file his second motion for an extension of time and that
            motion shall be filed by leave of the Court;

       2. GRANTS plaintiff's motion to proceed in forma pauper is due to the Court's
            summary disposition of this case and plaintiff's pro se status;

       3. DENIES plaintiff's second motion for an extension oftime, dated March 30, 2016;
            and

       4. Directs the Clerk to ENTER final judgment DISMISSING the complaint without
            prejudice pursuant to RCFC 41(b).

No costs.

       IT IS SO ORDERED.




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